     Case 8:20-cv-01852-JVS-KES Document 80 Filed 08/15/22 Page 1 of 5 Page ID #:2321



1      Nicholas O. Kennedy (State Bar No. 280504)
       nicholas.kennedy@bakermckenzie.com
2      BAKER & McKENZIE LLP
       1900 North Pearl Street, Suite 1500
3      Dallas, TX 75201
       Telephone: 214.978.3000
4
       Thomas Tysowsky (State Bar No. 330022)
5      thomas.tysowsky@bakermckenzie.com
       BAKER & McKENZIE LLP
6      10250 Constellation Boulevard, Suite 1850
       Los Angeles, CA 90067
7      Telephone: 310.201.4728
8      Attorneys for Plaintiff,
       MING GLOBAL LIMITED, a Hong Kong company
9

10
                             UNITED STATES DISTRICT COURT
11
                            CENTRAL DISTRICT OF CALIFORNIA
12

13     MING GLOBAL LIMITED, a Hong Kong                Case No. 8:20-cv-01852-JVS-KES
       company,
14                                                     PLAINTIFF’S NOTICE OF MOTION
                     Plaintiff,                        AND MOTION OF VOLUNTARY
15            v.                                       DISMISSAL, WITHOUT PREJUDICE
16     MONARCH HOLDINGS INC., a Nevada                 [Fed. R. Civ. P. 41(A)(2)]
       corporation, d/b/a MONARCH
17     INTERNATIONAL INC., VERONICA SO                 Date: September 12, 2022
       a/k/a MARIA VERONICA SO a/k/a                   Time: 1:30 p.m.
18     MARIA SO, an individual, IRVINE                 Ctrm: 10C
       MANAGEMENT TRANSFERS AND                        Judge: Hon. James V. Selna
19     HOLDINGS CORP, a New York
       corporation, ALYSSA D'URSO a/k/a                District Judge James V. Selna
20     ALYSSA DURSO, an individual; and Does           Magistrate Judge Karen E. Scott
       1 through 10 inclusive,
21                                                     SAC Filed: July 19, 2021
                   Defendants.
22

23

24

25
26

27

28

                                                                     Case No. 8:20-cv-01852-JVS-KES
                   PLAINTIFF’S NOTICE OF MOTION AND MOTION OF VOLUNTARY DISMISSAL
     Case 8:20-cv-01852-JVS-KES Document 80 Filed 08/15/22 Page 2 of 5 Page ID #:2322



1                                      NOTICE OF MOTION
2      TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
3             PLEASE TAKE NOTICE that on September 12, 2022 at 1:30 p.m., or as soon
4      thereafter as the matter may be heard before the Honorable James V. Selna in Courtroom
5      10C of the above-captioned Court, Plaintiff Ming Global Limited (“Plaintiff” or “Ming
6      Global”) by and through its undersigned counsel, moves for the voluntary dismissal of its
7      claims against Defendant Veronica So, aka Maria So, in the above-captioned action
8      pursuant to Federal Rule of Civil Procedure 41(A)(2) without prejudice. Following the
9      Court’s dismissal of So without prejudice, as well as the contemporaneously-filed notice
10     of dismissal filed by Ming Global whereby Ming Global voluntarily dismisses, without
11     prejudice, Defendant Monarch Holdings Inc., dba Monarch International Inc., Defendant
12     Derek Nguyen and Defendant Javeed Matin, Ming Global would accordingly have no
13     claims against any defendants in this suit and no party would have any claims pending
14     against Ming Global. Thus, Ming Global respectfully requests the voluntary dismissal,
15     without prejudice, of Ming Global in the above-captioned action pursuant to Federal Rule
16     of Civil Procedure 41(A)(2).
17                    MEMORANDUM OF POINTS AND AUTHORITIES
18     I.     INTRODUCTION
19            On September 24, 2020, Ming Global filed its Complaint in this action against
20     Defendant Monarch Holdings Inc., dba Monarch International Inc. (“Monarch”), alleging
21     various claims regarding investment fraud. (ECF No. 1.) On October 6, 2020, after
22     discovering new facts and information, Ming Global filed a First Amended Complaint
23     against Defendant Monarch, Veronica So aka Maria Veronica So aka Maria So (“So”),
24     Irvine Management Transfers And Holdings Corp. (“Irvine”), and Alyssa D’Urso aka
25     Alyssa Durso (“D’Urso”), alleging similar claims regarding investment fraud. (ECF No.
26     17.)   However, after further discovering new facts and information, Ming Global
27     dismissed its claims against Defendant Irving and Defendant D’Urso on December 30,
28     2020 (ECF No. 47), and subsequently, on July 19, 2021, filed its currently-operative

                                                   -1-               Case No. 8:20-cv-01852-JVS-KES
                   PLAINTIFF’S NOTICE OF MOTION AND MOTION OF VOLUNTARY DISMISSAL
     Case 8:20-cv-01852-JVS-KES Document 80 Filed 08/15/22 Page 3 of 5 Page ID #:2323



1      Second Amended Complaint against Defendant Monarch, Defendant Derek Nguyen,
2      Defendant Javeed Matin as well as Defendant So. (ECF No. 57.) Defendants Monarch,
3      Nguyen, and Matin have not appeared in this case, but Defendant So answered Ming
4      Global’s Second Amended Complaint on July 29, 2021. (ECF No. 58.) In addition to
5      answering Ming Global’s Second Amended Complaint, Defendant So filed fraud and
6      indemnity-related crossclaims against Cross-Defendants Monarch, D’Urso, Irvine, Igor
7      Grygorev, and Yriy Ivanov. (ECF No. 42.)
8            Ming Global concurrently filed with this motion a notice of voluntary dismissal,
9      without prejudice, against Defendants Monarch, Nguyen, and Matin, each of whom have
10     not appeared in this case. Thus, Ming Global respectfully requests, through this motion,
11     voluntary dismissal, without prejudice, of itself and its claims against Defendant So.
12     II.   ARGUMENT
13           Federal Rule of Civil Procedure 41(a)(2) establishes that “[e]xcept as provided in
14     Rule 41(a)(1), an action may be dismissed at the plaintiff's request only by court order, on
15     terms that the court considers proper.” Fed. R. Civ. P. 41(a)(2). A plaintiff's motion for
16     voluntary dismissal “is addressed to the district court's sound discretion and the court's
17     order will not be disturbed unless the court has abused its discretion.” Stevedoring Servs.
18     of Am. v. Armilla Int'l B. V., 889 F.2d 919, 921 (9th Cir.1989) (citing Sams v. Beech
19     Aircraft Corp., 625 F.2d 273, 277 (9th Cir.1980)). The Ninth Circuit has held that
20     dismissal without prejudice is proper “so long as the defendant will not be prejudiced . . .
21     or unfairly affected by dismissal.” Id.; see also Deckers Outdoor Corp. v. Romeo &
22     Juliette, Inc., No. 2:15-cv-02812-ODW(CWx), 2016 U.S. Dist. LEXIS 138593, at *3
23     (C.D. Cal. Oct. 5, 2016). When evaluating whether a defendant will be prejudiced or
24     unfairly affected by a voluntary dismissal, a district court must consider “whether the
25     defendant will suffer some plain legal prejudice as a result of the dismissal.” Hamilton v.
26     Firestone Tire & Rubber Co., Inc., 679 F.2d 143, 145 (9th Cir.1982) (citing Hoffmann v.
27     Alside, Inc., 596 F.2d 822, 823 (8th Cir. 1979)). Legal prejudice is “prejudice to some
28     legal interest, some legal claim, [or] some legal argument” and focuses on “the rights and

                                                    -2-               Case No. 8:20-cv-01852-JVS-KES
                    PLAINTIFF’S NOTICE OF MOTION AND MOTION OF VOLUNTARY DISMISSAL
     Case 8:20-cv-01852-JVS-KES Document 80 Filed 08/15/22 Page 4 of 5 Page ID #:2324



1      defenses available to a defendant in future litigation.” Westlands Water Dist. v. United
2      States, 100 F.3d 94, 97 (9th Cir. 1996). However, legal prejudice “does not result simply
3      when [a] defendant faces the prospect of a second lawsuit or when [a] plaintiff merely
4      gains some tactical advantage” by dismissing the action. Hamilton, 679 F.2d at 145.
5      Further, “the threat of litigation which causes uncertainty is insufficient to establish plain
6      legal prejudice.” Viriyapanthu v. Bank of Am., N.A., No. SA CV 12-1285-DOC (ANx),
7      2013 U.S. Dist. LEXIS 87879, 2013 WL 3188848, at *3 (June 21, 2013)
8      (citing Westlands, 100 F.3d at 96).
9            As a result of Ming Global’s concurrently-filed notice of voluntary dismissal,
10     without prejudice, of Defendants Monarch, Nguyen, and Matin, and because Defendant
11     So does not have any crossclaims against Ming Global, Ming Global’s only remaining
12     involvement in this suit are through its claims against Defendant So. Ming Global pursues
13     the voluntary dismissal of its claims against Defendant So so that Ming Global would
14     neither have any remaining claims against any Defendant, nor any claims against it, in the
15     lawsuit, and so that Ming Global itself can be voluntarily dismissed, without prejudice,
16     from this lawsuit. Ming Global could thus avoid further expenditure of Ming Global’s
17     and the Court’s resources pursuing its current claims at the moment.
18           Defendant So, unlike Defendants Monarch, Nguyen, and Matin, has appeared in
19     this case, and thus Ming Global could not simply file a notice of voluntary dismissal,
20     without prejudice, concerning its claims against Defendant So. See Fed. R. Civ. P.
21     41(a)(1) (concerning dismissals without a court order). However, Ming Global could not
22     engage Defendant So to obtain a stipulation of voluntary dismissal, without prejudice,
23     because Defendant So is currently unrepresented by legal counsel. See id. Defendant So
24     is unrepresented because her counsel withdrew from the case as a result of non-payment
25     from Defendant So. (ECF No. 71.)
26           Therefore, because Ming Global seeks to voluntarily dismiss, without prejudice, its
27     claims against Defendant So only so that Ming Global may itself be voluntarily dismissed,
28     without prejudice, from this action, Defendant So is not legally prejudiced in any way by

                                                    -3-               Case No. 8:20-cv-01852-JVS-KES
                    PLAINTIFF’S NOTICE OF MOTION AND MOTION OF VOLUNTARY DISMISSAL
     Case 8:20-cv-01852-JVS-KES Document 80 Filed 08/15/22 Page 5 of 5 Page ID #:2325



1      these dismissals. Her legal interests, arguments, and any legal claims of Defendant So’s
2      remain unchanged.
3             The Court should grant this motion for voluntary dismissal, without prejudice, of
4      Ming Global’s claims against Defendant So, and, also grant this motion for voluntary
5      dismissal, without prejudice, of Ming Global from this action, since Ming Global would
6      have no legal claims against any other party (once the claims against Defendant So are
7      dismissed) and there would be no claims pending against Ming Global.
8      III.   CONCLUSION
9             For the foregoing reasons, Plaintiffs pray this Court grants their Motion for
10     Voluntary Dismissal, Without Prejudice, of Defendant Maria So, and of Ming Global,
11     pursuant to Rule 41(a)(2).
12

13      Dated: August 15, 2022                  Respectfully submitted,
14                                              BAKER & McKENZIE LLP
                                                Nicholas O. Kennedy
15                                              Thomas Tysowsky
16
                                                By:    /s/ Nicholas O. Kennedy
17                                                      Nicholas O. Kennedy
18                                              Attorneys for Plaintiff
                                                MING GLOBAL LIMITED
19

20

21

22

23

24

25

26

27

28


                                                    -4-               Case No. 8:20-cv-01852-JVS-KES
                    PLAINTIFF’S NOTICE OF MOTION AND MOTION OF VOLUNTARY DISMISSAL
